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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES

               Plaintiff,

v.                                                    Case No. 97-81440

GEORGE BLAIR,                                         Honorable Patrick J. Duggan

               Defendant.
                                        /


      OPINION AND ORDER TRANSFERRING DEFENDANT’S MOTION TO
     VACATE JUDGMENT OF HABEAS CORPUS PURSUANT TO RULE 60(b)(6)
      OF THE FEDERAL RULES OF CIVIL PROCEDURE TO THE COURT OF
                              APPEALS

                         At a session of said Court, held in the U.S.
                       District Courthouse, City of Detroit, County of
                        Wayne, State of Michigan, on May 4, 2005.

               PRESENT: THE HONORABLE PATRICK J. DUGGAN
                        U.S. DISTRICT COURT JUDGE

         Defendant moves this Court pursuant to Rule 60(b)(6) of the Federal Rules of

Civil Procedure for an order vacating its denial of Defendant’s motion to vacate

judgment.

         Following a bench trial in 1998, Defendant was found guilty of five counts of

possession with intent to distribute controlled substances in violation of 21 U.S.C. §

841(a)(1). This Court sentenced Defendant to 240 months of imprisonment on counts 1


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and 5, and to 262 months of imprisonment on counts 2, 3, and 4. The Sixth Circuit

subsequently affirmed Defendant’s conviction and sentence. United States v. Blair, 214

F.3d 690 (6th Cir. 2000). The Supreme Court denied Defendant’s application for certiori.

United States v. Blair, 531 U.S. 880, 121 S. Ct. 191 (2000).

       On March 16, 2001, Defendant filed a motion pursuant to 28 U.S.C. § 2255, which

this Court denied on August 7, 2001. Defendant filed a motion for reconsideration, which

this Court also denied on August 23, 2001. Defendant filed a second motion for

reconsideration, which this Court denied on October 5, 2001. Approximately one week

later, Defendant filed two petitions entitled “Petition Pursuant to Title 28 Federal Rules of

Evidence Rule 201 Judicial Notice of Adjudicative Fact” in which he challenged his

conviction in light of Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674 (1978). The

Court denied both petitions on October 18, 2001.

       On December 11, 2002, the Sixth Circuit Court of Appeals affirmed this Court’s

denial of Defendant’s § 2255 motion in an unpublished opinion. Blair v. United States,

Case No. 01-2149 (6th Cir. December 11, 2002). Defendant then sought authorization

from the Sixth Circuit to file a second or successive motion to vacate sentence under 28

U.S.C. § 2255. The Sixth Circuit denied Defendant’s request. In re Blair, No. 03-2008

(6th Cir. December 17, 2003)(amended January 9, 2004). On March 23, 2005, Defendant

filed the pending motion.

       Contrary to the Government’s assertion, in some instances, Rule 60(b)(6) of the

Federal Rules of Civil Procedure may govern a defendant’s challenge to a habeas



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decision.1 As the Sixth Circuit set forth in Abdur’Rahman v. Bell, where “‘the motion’s

factual predicate deals primarily with some irregularity or procedural defect in the

procurement of the judgment denying habeas relief,’ then it should be treated within the

usual standards governing Rule 60(b) relief.” Smith v. Anderson, 402 F.3d 718, 723 (6th

Cir. 2005)(quoting Abdur’Rahman, 392 F.3d at 181). In comparison, “‘[w]hen the

motion’s factual predicate deals primarily with the constitutionality of the underlying . . .

conviction or sentence,’ the motion should be treated as a second or successive [habeas]

petition.” Id. The government is correct, however, that Defendant’s claim for relief in

his pending motion is based on a “factual predicate [that] deals primarily with the

constitutionality of [his] underlying conviction or sentence.”

       Defendant asks the Court to vacate its previous denial of his § 2255 motion based

on intervening Supreme Court and Sixth Circuit law that renders his sentence

unconstitutional. Specifically, Defendant contends that the Supreme Court’s decision in

Blakely v. Washington, 542 U.S. ___, 124 S. Ct. 2531 (2004), and United States v.

Booker, ___ U.S. ___, 125 S. Ct. 738 (2005), renders his sentence unconstitutional as this

Court determined the type of drug and drug quantity involved in determining his

sentence. The Court therefore treats Defendant’s pending motion as a second or

successive habeas petition. As a result, the Court concludes that it lacks jurisdiction to



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        The Government argues that the Federal Rules of Civil Procedure govern suits of a civil
nature only and, since the instant matter is a criminal case, those rules do not govern. Rule 12 of
the Rules Governing Section 2255 Proceedings provides, however, that “[t]he Federal Rules of
Civil Procedure . . ., to the extent they are not inconsistent with any statutory provisions or these
rules, may be applied to a proceeding under these rules.”

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consider Defendant’s requested relief and that his motion must be transferred to the Sixth

Circuit pursuant to 28 U.S.C. § 1631. See 28 U.S.C. §§ 2244(d)(3) & 2255 and Rule 9 of

the Rules Governing Section 2255 Proceedings (requiring a petitioner to obtain

authorization from the court of appeals before a second or successive habeas application

can be filed in the district court); In re Sims, 111 F.3d 45, 47 (6th Cir. 1997)(stating that a

district court must transfer a second or successive petition to the court of appeals pursuant

to 28 U.S.C. § 1631).

       Accordingly,

       IT IS ORDERED, that the Clerk of the Court SHALL TRANSFER Petitioner’s

motion to the Sixth Circuit Court of Appeals pursuant to 28 U.S.C. § 1631.




                                                   s/PATRICK J. DUGGAN
                                                   UNITED STATES DISTRICT JUDGE

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